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                                                                CERTIFICATE OF BIRTH REGISTRATION                                                                                                                      �                     _-;;,,
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                    OATE FrLE0                            THE CliY OF NEW YORK - DEPARTMENT OF HEALTH AND MENTAL HYGIENE
                    NOVEMBER 12, 2015                                                        CERTIFICATE OF BIRTH

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                                                                                                                                     CERTIFICATE NO.             156-15-102636



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